Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 1 of 12




                              U NITED STA TES DISTR ICT CO U RT
                              SOUTHERN DISTRICT 0$5FLORIDA
                                   C ase No.1:19-CR-20351-CM A


    UN ITED STATES O F AM ERICA

    VS.

    LUIS ALBERTO CH A CIN H ADD AD
                              /

                                       PLEA AG REEM E NT

           The United StatesXttorney'gOffice forthe Southern DistrictofFlorida,and the United
    States Departm entofJustice,Crim inalD ivision,Fraud Section and M oney Laundering & Asset

    Recovery Section (collectively,the TtGovernment''orthe ççunited States'),and LuisAlberto
    ChacinHaddad(hereinafterreferredtoasthed'defendanf')enterintothefollowingagreement:
               The defendant agrees to w aive indictment and to plead guilty to the one-count

    Inform ation Gled in this case,which charges the defendant with conspiracy to com m it felony

    violationsoftheForeignConuptPradicesAct(Title15,UnitedStatesCode,Sections78dd-2and
    78dd-3),inviolationofTitle18,UnitedStatesCode,Section371.
           2. The defendantisaw arethatthe sentencew illbe imposed by the Courtafterconsidering

    the Federal Sentencing Guidelines and Policy Statements (hereinafter, the Sdsentencing
    Guidelines'),aswellasotherfactorsenumeratedinTitle18,UnitedStatesCode,Section3553(/).
    ThedefendantacknowledgesandunderstandsthatiheCourtwillcomputean advisory sentence
    pnderthe Sentencing Guidelinesandthatthe applicableguidelinesw illbe determ ined by theCourt

    relying in partön theresultsofaPre-sentenceInvestigation by the Court'sprobation office,which

    investigation w illcom m ence afterthe guilty plea has been entered. The defendantisalso awarç


                                                  1
Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 2 of 12




    that,under certain circum stances,the Courtm ay departfrom the advisory sentencing guideline

    range thatithas computed,and m ay raise or lower thatadvisory sentence underthe Sentencing

    Guidelines. Thedefendantisfurtheraware and understandsthatthe Courtisrequiredto consider

    the advisory guideline range determ ined under the Sentencing Guidelines but is not bound to

    imposethatsentence;theCourtispermittedtotailortheultimatesentenceinlijhtofotherstatutory
    concerns, and such sentence m ay be either m ore severe or less severe than the Sentencing
                                            .




    Guidelines' advisory sentence.      K now ing these facts, the defendant understands and

    acknow ledgesthattheCourthastheauthority to im poseany sentence within andup tothestatm ory

    m axim um authorized by law forthe offense identifed in paragraph 1,and thatthe defendantm ay

    notw ithdraw theplea solùly as aresultofthesentence imposed.

                The defendant also understands and acknowledges that for the charge in the

    lnform ation ofconspiracy to com m itan offense againstthe United Statesin violation ofTitle 18,

    U nited States Code, Section 371, the Court m ay im pose a statutory m axim um tenn of

    imprisonm entofup to five years,follow ed by a term ofsupervised release of up to tlzree years.

    In addition to a term ofim prisonm entand supervised release,the Courtm ay im pose a fine ofup

    to $250,000,ortwicethe grosspecuniary gain ortwicethegrosspecuniary lossderivedfrom the
    offense,whicheverisgreater,and the Courtm ay also orderforfeiture and restitution.

           4. The defendantfurtherunderstandsand acknow ledgesthat,in addition to any sentence

    imposedunderparagraph3ofthisagreement,aspecialassessmentin theamountof$100percount
    w illbe im posed on the defendant. The defendant agrees that any specialassessm entim posed

    shallbe paid atthe tim e ofsentencing. lfthe defendantis ûnancially unable to pay the special

    assessm ent,thedefendantagreesto presentevidenceto the Governm entand the Courtatthetim e

    ofsentencing as to the reasonsforthe defendant'sfailureto pay.
Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 3 of 12




               TheGovernmentreservestherightto inform theCourtand theprobation offceofaIl

    factspertinenttothesentencingjrocess,includinga11relevantinformationconcerningtheoffenses
    comm itted,w hether charged or not, as well as concerning the defendant and the defendant's

    background. Subjectonlytotheexpresstermsofanyagreed-uponsentencingrecommendations
    contained in this agreement, the Government further reserves the right to make any

    recom m endation asto the quality and quantity ofpunishm ent.

               The Governmentagreesto recommend atsentencing thatthe Courtreduce by two

    levels the sentencing guideline levelapplicable to the defendant's offense,pursuantto Section

    3E1.1(a)ofthe Sentencing Guidelines,baseduponthedefendant'srecognition and affirmative
    and tim ely acceptance of personal responsibility.lf at the tim e of sentencing the defendant's

    offenselevelisdeterminedtobe16orgreater,theGovemmentwillmakeamotionrequekingan
    additionalone-leveldecreasepursuantto Section3E1.1(b)oftheSentencingGuidelines,stating
    thatthedefendanthasassisted authoritiesintheinvestigation orprosecution ofhisow n m iscpnduct

    by tim ely notifying authorities ofhis intention to enter a plea of guilty,thereby perm itting the

    Governm entto avoid preparing fortrialand perm itting the Governm entand the Courtto allocate

    theirresources efficiently. The Governm ent,how ever,willnotbe required to m ake thism otion

    andthisrecommendationifthedefendant:(1)failsorrefusestomakeafull,accurate,andcomplete
    disclosure to the probation offce ofthe circum stances surrounding the relevantoffense conduct;

    (2)is found to have misrepresented factsto the Governmentpriorto entering into thisplea
    agreement;or(3)commitsanymisconductafterentering intothispleaagreement,includingbut
    notlim ited to com m itting a state orfederaloffense,violating any term ofrelease,orm aking false

    statem entsorm isrepresentationsto any governm entalentity oroffk ial.
Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 4 of 12




                The defendant agrees that he shall cooperate fully w ith the Govem m ent by:

    (a)providingtruthfulandcompleteinformationandtestimony,andproducingdocuments,records
    and otherevidepce,when called upon by the Governm ent,w hetherin interview s,before a grand

    jury,oratany trialorothçrCourtproceeding;(b)appearing atsuch grand jury proceedings,
    hearings,trials,and otherjudicialproceedings,and atmeetings,asmay be required by the
    Govemment;and (c)ifrequestedby theGovernment,working in an undercoverroleunderthe
    supervision of,and in com pliaflce w ith,1aw enforcem ent officers and agents. ln addition,the

    defendàntagreesthathew illnotprotectany person orentity through false inform ation orom ission,

    thathe w illnot falsely im plicate any person or entity,and thathe w illnotcom m it any further

    crim es. Thedefendantagreesnottorevealhijcooperation,orany inform ation derived therefrom ,

    toanjthirdpartywithoutpriorconsentofth4Government.
           8. The Governmentreservestherightto evaluatethenature and extentofthe defendant's

    cooperation and to m ake that cooperation,or lack thereof,lcnown to the Court at the tim e of

    sentencing. If in the sole and unreviewable judgmentofthe Government,the defendant's
    cooperation isofsuch qualityand significancetötheinvestigation orprosecutionofothercrim ipal

    m atters as to warrant the Cöurt's dow nward departure from the advisory sentencing range

    calculated underthe Sentencing Guidelines and/orany applicable m inihlum m andatory sentence,

    the Governm ent m ay m ake a m otion prior to sentencing pursuant to Section 5K 1.1 of the

    Sentencing Guidelinesand/orTitle 18,United StatesCode,Sedion 3553(e),orsubsequentto
    sentencingpursuantto Rule35 oftlieFederalRulesofCriminalProcedure,informing theCourt
                                                 '>    .

    thatthe defendant has provided substantial assistance and recom m ending that the defendant's

    sentence be reduced. The defendant understands and agrees, how every that nothing in this

    agreem ent requires the Governm ent to file any such m otions, and that the Governm ent's


                                                  4
Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 5 of 12




    assessm ent of the quality and signifkance ofthe defendant's cooperation shallbe binding as it

    relates to the appropriateness of the Gling or non-fling of a m otion to reduce sentence. ln

    addition,because the defendant agrees that the Governm ent shallhave sole and unreviewable

    discretion to m ove for any sentencing reduction based on his cooperation,the defendant agw es

    thathe willnotseek a variance from the guideline range underTitle 18,United States Code,

    Section3553(a)becauseofanycooperation,althoughthedefendantmaymove.foravariance,if
    he chooses,because ofothergrounds,ifany,which do notinvolve cooperation.

           9. The defendantunderstands and acknow ledges thatthe Courtis underno obligation to

    granta motion forreduction ofsentence filed by the Govermuent. ln addition,the defendant

    furtherunderstands and acknowledges thatthe Courtis underno obligation ofany type to reduce

    the defendant'ssentence because ofthe defendant'scooperation.

           10. ln the event that the defendant chooses to seek a variance from the sentencing

    guideline range,the defendantfurther agrees that any such application shallbe filed in writing

    withtheCourtandservedontheUnitedStatesnolaterthanthedeadlineforsubmittingobjections
    tothePre-sentenceInvestigationReportstatedinFederalRuleofCriminalProcedure32(9(1).
           11. The defendantagrees to forfeitto the United States voluntarily and im m ediately all

    property,realorpersonal,which constitutesorisderived from proceedstraceableto theconspiracy

    to com m itfelony violations ofthe Foreign ConuptPractices A ct,Title 15,United States Code,

    Sections78dd-2 and 78dd-3,charged in theInform ation. Thedefendantagreesto consentto th8

    entryofordersofforfeitureforsuchpropertyandforamoneyjudgmentequalinvaluetothetotal
    am ountofproceeds he obtained as a result of his offense of conviction. The defendant adm its

    and agreesthatthe conductdescribed in the Inform ation and FactualProfferprovidesa suficient

    factualand statutory basis for the forfeiture of the property sogght by the governm ent. The
Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 6 of 12




    defendantagreesthatsuch property includes,butisnotlim itedto:

               (i) A sum ofatleast$5.5million,which representsthetotalamountthedefendant
                          individually acquired through his offense of conviction less the direct costs

                          incurredinprovidinganytawfulgoodsorservices,andwhichmaybesoughtas
                          aforftituremoneyjudgment;and
               (ii) Realpropertylocatedat2127BrickellAvenue,Unit1001,M iami,Florida33129,
                          w hich although titled in the nam e ofBrickellM iam i1001 LLC,w >spurchased

                          by the defendahtw ith proceed,s from his offense ofconviction and beneGcially

                          ow ned by the defendant.

           12.        Thedefendantagreestowaiveany apyealoftheforlkiture. Thedefendantwaives
    therequirementsofkules32.2 and43(a)oftheFdderalRulesofCriminalProcedureregarding
    notice of the forfeim re in the lnform ation,announcem ent of the forfeiture at sentencing, and

    incorporation oftheforfeiturein thejudgment. Thedefendantalso waivesany failureby the
    Courttoa(1visethedefendantofanyapplicableforfeitureatthetimetheguiltypleaisacceptedas
    requiredbyRule11(b)(1)(J)oftheFederalRulesofCriininalProcedure. Thedefendantfurther
    Mgreestowaiveànyapplicabletimelimitsfortheinitiationofadm'iistrativeorjudicialforfeiture
    proceedingsand/orfurthernotification ofany such forfeiture broughtagainstthe property sought

    forforfeittire.
           13.            The defendant also agrees to assist the Governm ent in .a1l proceedings,

    administrgtiveorjudicial,involving forfeitureto theUnited Statesofany property,including
    substituteproperty,regardlessofitsnatureorfolp ,realorpersonal,whichthedefendantorothers
    known to the defendant,have accum ulated as a resultof illegalactivities. The defendantagrees
                      .                                                                    '
       .

    thattheUnited Statesshall,atitsdiscretion,beentitled to forfeitureofanyproperty (substitute


                                                       6
Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 7 of 12




    assets)ofthe defendantto satisfy themoneyjudgment. Thedefendantfurtheragreesthata11
                                                                             '               .
                                                                         .


    elemenfsofTitle21,United StatesCode,Section 853û9,have been satisied. The defendant
    further agrees to take all steps necessary to locate property that could be used to satisfy the

    forfeituremoneyjudgïentandtopasstitletotheUnitedStatesbeforethedefendant'ssentencing.
    T0 thatend,defendantagrees to fully assistthe Governm entin the recovery and retul'
                                                                                      n to the

    United States of any assets,orportions thereof,w herever located.The assistance shallinclude:

    identiûcationofanypropertysubjecttoforfeiture,agreementtotheentrypfanorderenjoiningthe
    transferorencum brance ofsuch property,and thetransferofsuch property to the United Statesby

    delivery to the Governm ent, upon the G overnm ent's request, any necessary and appropriate

    docum entation, including consents to forfeiture and quit claim deeds, to deliver good and

    m arkdable title to such property. The defendantfurther agrees to liquidate assets,or com plete

    any othertaskswhichwillresultinimmediatepaymentoftheforfeituremoneyjudgmentinfull,
    orfullpaym entin the shortestam ountoftim e,asrequùsted by the Governm ent.

           14.     The defendantagreesto m ake fulland accurate disclosure ofhis fnancialxaffairs

    to the Government and expressly authorizes the Governmept to obtain a credit report. The

    defendantagreesthatw ithin 10 calendardaysand upon requestofthe Governm eht,thedefendant

    shallsubmitacompleted FinancialDisclosureStatement(form provided by theUnited States),
                                                                             '*
                                        .

    and shal
          1
            lfully disclose and identify a1lassets in w hich he has any interestand/oroverwhich the

    defendantexercises control,directly orindirectly,including those held by a spouse,nom inee,or

    otherthirbparty. Thedefendantagreesthatprovidingfalseorincompleteinformation abouthis
    fnancialassets,orhiding,selling,transfening ordevaluing assetsand/orfailing to cooperate fully

    intheinvestigationandidentificationofassetsmaybeusedasabasisfor:(a)separateprosecution,
    including,underTitle18,UnitedStatesCode,Section 1001;or(b)recommendationofadenialof


                                                  7
Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 8 of 12




    areduction foracceptance ofresponsibility pursuantto Sentencing Guidelines j 3EI.I. The
    defendantagreesthathe willnotsell,hide,waste,encumber,destroy,orotherwise devalue any

    assetwithoutpriorapprovaloftheGovernment,untilhisforfeituremoneyjudgmentispaidinfull.
    The defendantshallalso identify any transferofassetsvalued in excessof$5,000 sincethe date
    whenhebecame awareofthecriminalinvestigation,includingthe identity oftheasset,thevalue

    ofthe asset,the tdentity ofthe thirdparty to whom the assetwastransferred,and thecurrent
    location ofthe asset.

           15.      The defendant further understands that forfeiture is independent of any

    assessm ents,fines,costs,restitution,orany otherpenalty thatm ay be im posed by the Court. The

    defendantknowingly and voluntarily waivesany claim ordefensehemay haveundertheEighth

    A m endm ent to the U nited States Constitution,including any claim of excessive fine or penalty

    w ith respectto the forfeited property.

                 The defendantis aware thatTitle 18,United States Code,Section 3742 and Title 28,

    United States Code,Section 1291 afford the defendantthe rightto appealthe sentence im posed in

    this case. A cknow ledging this,in exchange for the undertakings m ade by the United States in

    this plea.agreem ent,the defendanthereby waivesal1rightsconferred by Sections 3742 and 1291

    to appealany sentence im posed,including any restitution order,orto appealthe m annerin which

    the sentence w asim posed,unlessthesentence exceedsthe m axim um perm itted by statute oristhe

    resultofan upward departure and/oran upward variance from theadvisory guidelinerange that

    the Court establishes at sentencing. The defendant further understands that npthing in this

    agreem entshallaffectthe Govenzm ent'srightand/orduty to appealassetforth in Title 18,United

    StatesCode,Section 3742(b)andTitle28,UnitedStatesCode,Section 1291. However,ifthe
    United States appeals the defendant's sentence pursuantto Sections 3742(b) and 1291,the


                                                   8
Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 9 of 12




    defendantshallbereleasedfrom theabovewaiverofappellaterights. Inaddition totheforegoing

    provisions,thedefendantherebyWaivesallrightstoargueqn appealthatthe statuteto which the
    defendantispleading guilty isunconstitutionaland thatthe adm itted conductdoesnotfallw ithin

    the scope .
              of the statute. By signing this agreement,the defendant acknowledges that the

    defendanthasdiscussedtheappealwaiversetforthinthisagreementwiththedefendant'sattorney.

                The defendantis aw are thatthe sentence has notyetbeen determ ined by the Court.

    Thedefendantalsoisawarethatanyestimateoftheprobablesentencingrangeorsentencethatthe

    defendant m ay receive, w hether that estim ate com es from the defendant's attorney, the
    Governm'ent, or the probation offce,is a prediction,nota prom ise,and is notbinding on the

    Government,the probation office,or the Court.The defendant understands further that any

    recom m endation thatthe Governm entm akes to the Courtas to sentencing,w hetherpursuantto

    this agreement or otherwise,is not binding on the Courq and the Courtmay disregard the

    recommendation in its entirety. The defendantunderstands and acknowledges,às previously

    acknowledged inparagraph.z above,thatthedefendantm ay notwithdraw hispleabaseduponthe

    Court's decision not to accept a sentencing recom m endation m ade by the defendant, the

    Government,orarecommendationmadejointlybyboththedefendantandtheGovernment.
           18. The defendantrecognizesthatpleading guilty m ay have consequencesw ith respectto

    the defendant's im m igration status ifthe defendantis nota citizen ofthe U nited States. Under

    federallaw,a broad range of crim es are rem ovable offenses,including the offense to which the

    defendantispleading guilty. Indeed,because the defendant is pleading guilty to conspiracy to
            /
    com m itfelony violations ofthe Foreign Corrupt Practices A ct,rem ovalm ay be presumptively

    mandatory. Removal and other immigration consequences are the subject of a separate
    proceeding, how ever, and the defendant understands that no one, including the defendant's


                                                  9
Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 10 of 12




    attorney orthe Coult can predictto a certainty the cffectofthe defendant'sconviction on the
    defendant'sim m igration stam s. The defendantnevertheless afûrm s thatthe defendantw antsto

    p1ead guilty regardlessofany imm igration consequencesthatthede'
                                                                   fendant'spleam ay entail, even

    iftheconsequence isthedefendant'sautom aticremovalfrom theUnited States.

           19. The Governmentand thedefendantstipulate to and agree notto contestthefactsin

    theFactualProffer,andstipulatethatsuchfacts,inaccordancewithRule11(b)(3)oftheFederal
    Rulesof Crim inalProcedure,provide a suffcientfacm albasisforthe plea ofguilty in this case.

    Thedefendantagreesthatthe facts in the FacttialProfferaretrue and correctto thebestofthe.
                                                                                          %
                                               .


    defendant'sknowledge. Because the factualbasissetforth in the FactualProfferhasthe lim ited

    purpose ofsupporting the defqndant'sguilty pleato the charge discussed in paragraph two,the
    factual basis set fort
                         !
                          h in the Factual Profttr does not purportto represent allfacts and
    circum stances relating to thedefendant'sparticipation. Sim ilarly,the factualbasisin the Fadual

    Profferisnotintended to identify a11knowledge the defendantm ighthave ofthe unlawfulactivity

    ofotherindividuals.
                   $

           20. In the eventthe defendantwithdrawsfrom thisagreementpriorto orafterpleading

    guilty to thecharge identified in paragraph one above,orshould the dovernment,in itssole
    discretion,determ ine thatthe defendanthas failed to fully com ply w ith any ofthe term s ofthis

    plea agreem ent,the Governm entw illbe released from itsobligations underthis agreem ent,and

    the defendantagreesand understandsthat:

           (a)thedefendanttherebywaivesanyprotection affordedbyanyprofferletteragreement
    betweentheparties,Section 1B1.8oftheSentencingGuidelines,Rule11(9 oftheFederalRules
    ofCrim inalProcedure,and Rule 410 ofthe FederalRules ofEvidence;




                                                   10
Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 11 of 12




           (b) thatany statements made by the defendant as partofthe plea discussions,any
    debriefingsorinterviews,orin thisagreem ent,w hetherm ade priorto oraftertheexecution ofthis

    agreement will be admissible ag
                                  'ainst him without any limitation in any civil or crim inal

    proceeding broughtby the Governm ent;

           (c)thedefendant'swaiverofany defensebased on thestatuteoflimitationsandvenue,
    including the w aiver setforth in this agreem ent,orany defense based on the passage oftim e in

    fling an lndictm entorInform ation,referred to herèin,shallrem ain in fullforce and effect;

           (d)thedefendantstipulatestotheadmissibilityandauthenticity,inanycasebroughtbythe
    U nited States in any w ay related to the facts refefred to in this agreem ent,of any docum ents

    provided by the defendantorthe defendant'srepresentativesto any state orfederalagency and/or

    the Governm ent;and

           (e)thedefendanthasadoptedtheentirefactualbasisasthedefendant'sstatements,andthe
    defendanthas stipulated to the adm issibility of the FactualProffer in any case broughtby the

    U nited States.

           21. This isthe entire agreementand understanding between the United Statesand the

    defendant. There are no otheragreem ents,prom ises,representations,orunderstandings.


                                                ARIANA FA JARD O ORSHAN
                                                UN ITED STA TES ATTORNEY


    Date:(' gy y.)                         By:                             <
                                                                                 V
                                                  ICHAEL B .N AD LER
                                                A SSISTAN T UN ITED STA TES ATTORN EY




                                                   11
Case 1:19-cr-20351-CMA Document 43 Entered on FLSD Docket 06/24/2019 Page 12 of 12



             '.
                  a

    oate:    J',.
                ,4 /f                   ROBERTZINK
                                        ACTING CHIEF,FRAUD SECTION
                                        D epartm entofJustice,Crim inalD ivision


                                  gy1     *           -
                                          OIN ALEX ROM AN O
                                         TRIAL A TTORN EY


    o ate,   $/:4///$                   DEBOM H L.CON NOR
                                        CH IE F,M ONEY LAUN DEIUNG &
                                        A SSET RECOVERY SECTION
                                        Departm entofJustice,Crim inalDivision

                                  By;                   1,               #-
                                            SEP   ALA ZZO
                                        T          ORN E



    Date: u/zqj,                        THERESA V AN VLIET,Esq.
                                        COUN SEL F0R DEFEN DA T CHA CIN


    Date:O/d-,/e                        LUIS AL     RTO CHA CIN H ADD AD
                                        DEFE      éNT




                                            12
